         Case 3:24-cr-00146-PDW Document 2 Filed 08/28/24 Page 1 of 6




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA                       INDICTMENT

                 v.                            Case No. ______________________

SHAWN MAURICE WILLIAMS,
a/k/a DOLLA, and                               Violations: 21 U.S.C. § 846; 18 U.S.C.
ELIZABETH ANN WILLIAMS                         §§ 924(c)(1)(A) and 2

                                      COUNT ONE

Conspiracy to Possess with Intent to Distribute and Distribute a Controlled Substance

The Grand Jury Charges:

       From in or about September 2023 through the date of this Indictment, in the

Districts of North Dakota, Minnesota, and elsewhere,

                  SHAWN MAURICE WILLIAMS, a/k/a DOLLA, and
                        ELIZABETH ANN WILLIAMS

did knowingly and intentionally combine, conspire, confederate, and agree together and

with others, both known and unknown to the grand jury, to possess with intent to

distribute and distribute a mixture and substance containing a detectable amount of

cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1), and Title 18, United States Code, Section 2.

                                      Drug Quantity

       The amount involved in this conspiracy attributable to the defendants, as a result

of their own conduct, and of the conduct of other conspirators reasonably foreseeable to

them, is 500 grams or more of a mixture and substance containing a detectable amount of
            Case 3:24-cr-00146-PDW Document 2 Filed 08/28/24 Page 2 of 6




cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Section 841(b)(1)(B)(ii).

                                         Overt Acts

       In furtherance of this conspiracy and to effect and accomplish its objects, one or

more conspirators committed the following overt acts:

       1.      It was a part of said conspiracy that the defendants and others possessed

with intent to distribute and did distribute a mixture and substance containing a detectable

amount of cocaine, a Schedule II controlled substance, within the states of North Dakota,

Minnesota, and elsewhere;

       2.      It was further a part of said conspiracy that the defendants and others would

and did attempt to conceal their activities;

       3.      It was further a part of said conspiracy that the defendants and others would

and did use telecommunication facilities, including cellular telephones, to facilitate the

distribution of cocaine;

       4.      It was further a part of said conspiracy that the defendants and others would

and did use United States currency in their drug transactions;

       5.      It was further a part of said conspiracy that the defendants and others

possessed firearms during, in relation to, and in furtherance of the conspiracy;

       6.      It was further a part of said conspiracy that one or more conspirators

threatened violence and used intimidation to protect their criminal activities;




                                               2
            Case 3:24-cr-00146-PDW Document 2 Filed 08/28/24 Page 3 of 6




       7.      It was further a part of said conspiracy that one or more conspirators

traveled between the states of North Dakota and Minnesota to obtain, transport, and

distribute cocaine;

       8.      On or about March 26, 2024, SHAWN MAURICE WILLIAMS,

a/k/a DOLLA, and ELIZABETH ANN WILLIAMS possessed with intent to distribute

approximately 1,600 grams of cocaine in Dilworth, Minnesota;

       9.      On or about March 26, 2024, ELIZABETH ANN WILLIAMS possessed

with intent to distribute approximately 28 grams of cocaine in Moorhead, Minnesota;

       In violation of Title 21, United States Code, Section 846, and Pinkerton v. United

States, 328 U.S. 640 (1946).




                                              3
           Case 3:24-cr-00146-PDW Document 2 Filed 08/28/24 Page 4 of 6




                                      COUNT TWO

           Possession of Firearms in Furtherance of a Drug Trafficking Crime

The Grand Jury Further Charges:

       On or about March 26, 2024, in the District of Minnesota,

                  SHAWN MAURICE WILLIAMS, a/k/a DOLLA, and
                        ELIZABETH ANN WILLIAMS

did knowingly possess one or more firearms, namely:

       •       Palmetto State Armory, Model M4A1 Carbine, .556 caliber pistol, bearing
               Serial Number W1905736;

       •       Glock Inc., Model 23, .40 caliber pistol, bearing Serial Number BRGS537;

       •       Glock Inc., Model 33 Gen4, .357 caliber pistol, bearing Serial Number
               BXDS718; and

       •       Keltec CNC Industries, Model P3AT, .380 caliber pistol, bearing Serial
               Number JT456,

in furtherance of a drug trafficking crime for which they may be prosecuted in the United

States District Court for the District of North Dakota, that is, the offense alleged in Count

One of this Indictment;

       In violation of Title 18, United States Code, Sections 924(c)(1)(A) and 2.




                                              4
           Case 3:24-cr-00146-PDW Document 2 Filed 08/28/24 Page 5 of 6




                                  FORFEITURE NOTICE

       Upon conviction of one or more of the offenses alleged in this Indictment,

                  SHAWN MAURICE WILLIAMS, a/k/a DOLLA, and
                        ELIZABETH ANN WILLIAMS

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d),

all firearms involved in the violation of Title 18, United States Code, Section

924(c)(1)(A), and shall forfeit to the United States, pursuant to Title 21, United States

Code, Section 853, all right, title, and interest in any property constituting or derived

from proceeds obtained directly or indirectly as a result of the violation of Title 21,

United States Code, Section 846, and any property used or intended to be used in any

manner or part, to commit, or to facilitate the commission of said violation, including but

not limited to:

       •      Palmetto State Armory, Model M4A1 Carbine, .556 caliber pistol, bearing
              Serial Number W1905736;

       •      Glock Inc., Model 23, .40 caliber pistol, bearing Serial Number BRGS537;

       •      Glock Inc., Model 33 Gen4, .357 caliber pistol, bearing Serial Number
              BXDS718; and

       •      5,156 rounds of assorted ammunition seized on or about March 26, 2024, in
              Dilworth, Minnesota.

       If any of the forfeitable property as a result of any act or omission of a defendant:

       (a)    cannot be located upon the exercise of due diligence;

       (b)    has been transferred or sold to, or deposited with, a third party;

       (c)    has been placed beyond the jurisdiction of the Court;

       (d)    has been substantially diminished in value; or



                                              5
         Case 3:24-cr-00146-PDW Document 2 Filed 08/28/24 Page 6 of 6




       (e)    has been commingled with other property which cannot be divided without
              difficulty,

the United States shall be entitled to forfeiture of substitute property under Title 21,

United States Code, Section 853(p), to seek forfeiture of any property of said defendants

up to the value of the forfeitable property.

                                           A TRUE BILL:

                                           /s/ Foreperson
                                           Foreperson

/s/ Mac Schneider
MAC SCHNEIDER
United States Attorney

MPK/tmg/vlt




                                               6
